                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE




In re:                                                    ) Chapter 11
                                                          )
YUETING JIA,>                                             ) Case No.: 19-12220(KBO)
                                                          )
                                   Debtor.


DECLARATION OF JAMES E. O’NEILL IN SUPPORT OF DEBTOR’S APPLICATION
PURSUANT TO SECTION 327(a) OF THE BANKRUPTCY CODE,RULE 2014 OF THE
FEDERAL RULES OF BANKRUPTCY PROCEDURE AND LOCAL RULE 2014-1 FOR
  AUTHORIZATION TO EMPLOY AND RETAIN PACHULSKI STANG ZIEHL &
                          JONES LLP AS COUNSEL FOR THE DEBTOR
      AND DEBTOR IN POSSESSION NUNCPRO TUNC TO THE PETITION DATE

I, James E. O’Neill, declare under penalty of perjury as follows:

                  1.       I am a partner in the law firm ofPachulski Stang Ziehl & Jones LLP

PTSZ&J” or the “Firm”), located at 919 North Market Street, I?**" Floor, Wilmington, Delaware,

19801 and have been duly admitted to practice law in the State of Delaware. This supplemental

declaration is submitted in support ofthe Debtor’s Application Pursuant to Section 327(a) ofthe

Bankruptcy Code, Rule 2014 ofthe Federal Rules ofBankruptcy Procedure and Local Rule
2014-1for Authorization to Employ and Retain Pachulski Stang Ziehl & Jones LLP as Counsel
for the Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date (the “Application”)
[Docket No. 18], filed on October 17, 2019.^



 I The last four digits of the Debtor’s federal tax identification number is 8972. The Debtor’s mailing address is 91
 Marguerite Drive, Rancho Palos Verdes, CA 90275.

 ^ Capitalized terms, unless otherwise defined herein, shall have the meanings ascribed to them in the Application.
                 2.       Pursuant to the Appendix B Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed Under United States Code by Attorneys in

Larger Chapter 11 Cases (the “2013 UST Guidelines”), the Firm makes certain disclosures

herein.


          1.   Pursuant to Part D1 of the 2013 UST Guidelines, PSZ&J is seeking employment as

counsel for the Debtor under section 327 of the Bankruptcy Code and it hereby provides the

following responses set forth below:


Questions required by Part              Answer:                           Further explanation:
D1 of 2013 UST Guidelines:
                                        No.                               N/A
Did you agree to any
variations from, or alternatives
to, your standard or customary
billing arrangements for this
engagement?
                                        No.                               N/A
Do any of the professionals
included in this engagement
vary their rate based on the
geographic location of the
bankruptcy case?
                                                                          None.
If you represented the client in PSZ&J represented the client
the 12 months prepetition, during the 12 month period
disclose your billing rates and prepetition in connection with
material financial terms for the preparation of the filing of the
prepetition     engagement, Case.
including any adjustments
during     the 12    months The material financial terms
prepetition. If your billing for the prepetition engagement
rates and material financial            remained    the same    as the
terms          have           changed   engagement was hourly-based
                                                      to      economic
postpetition,         explain     the subject
difference and reasons for the          adjustment.
difference.
                                        The billing rates and material
                                        financial     terms   for   the
                                        postpetition period remain the
                                        same as the prepetition period

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                                 subject to an annual economic
                                 adjustment,     The standard
                                 hourly rates of PSZ&J are
                                 subject to periodic adjustment
                                 in accordance with the Firm’s
                               practice^
Has your client approved your The Debtor and PSZ&J expect In accordance with the 2013
respective budget and staffing to develop a prospective UST Guidelines, the budget
plan, and, if so, for what budget and staffing plan to may be amended as necessary
                               comply     with    the   U.S. to      reflect       changed
budget period?
                               Trustee’s     requests    for circumstances or unanticipated
                               information and additional developments.
                               disclosures, recognizing that
                                 in the course of this large
                                 chapter 11 case, there may be
                                 unforeseeable       fees    and
                                 expenses that will need to be
                                 addressed by the Debtor and
                                 PSZ&J.


        Pursuant to 28 U.S.C. § 1746,1 declare under penalty of perjury that the foregoing is true

and correct.




Dated: October 25, 2019                              /s/James E. O’Neill
                                                      James E. O’Neill




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